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                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

        Maryland Shall Issue, Inc., et al.,

              Plaintiffs-Appellants,                          No. 23-1719
        v.

        Montgomery County, Maryland,

              Appellee



                          MONTGOMERY COUNTY, MARYLAND’S
                                 STATUS REPORT

              Pursuant to Federal Rule of Appellate Procedure 12 and Local Rule 12(d),

        Defendant-Appellee Montgomery County, Maryland (“County”) respectfully

        provides to this Court the following status report:

              The brief of Appellees in the Appellate Court of Maryland is due June 28,

        2024; the County’s reply brief is due twenty days thereafter.

              Respectfully submitted,

                                                JOHN P. MARKOVS
                                                COUNTY ATTORNEY


                                                     /s/ Edward B. Lattner
                                                Edward B. Lattner
                                                Deputy County Attorney

                                                       /s/ Erin J. Ashbarry
                                                Erin J. Ashbarry
                                                Chief, Government Operations Division
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                                                      /s/ Matthew H. Johnson
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                                                      /s/ Kristen J. Nunley
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                                      CERTIFICATE OF SERVICE
              I HEREBY CERTIFY that on June 24, 2024, a copy of the foregoing and all

        exhibits was filed to be transmitted via this Court’s CM/ECF Electronic Document

        Filing System to:

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